Case 1:22-cv-03190-KAM-PK         Document 23      Filed 11/07/22      Page 1 of 1 PageID #: 165




  I.INITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
                                                          X

 The CITY OF NEW YORK, by and through the FDNY,
 and the FDNY FOLINDATION, INC.,

                                   Plaintiffs,                  Civil ActionNo.

              v.-                                               22-cv-03190-KAM-PK

 ruAN HENRIQUEZ ANd MEDICAL SPECIAL
 OPERATIONS COMMLINITY, INC.,

                                   Defendants.

                                                          X

           PLEASE TAKE NOTICE that Plaintiffs, the CITY OF NEW YORK, by and through the

  FDNY, and the FDNY FOUNDATION, INC., do hereby voluntarily dismiss this action as against

  Defendant Medical Special Operations, Inc. without prejudice pursuant to Fed. R. Civ. P. Rule

  +1(a)(lXAXi).


  Dated:            New York, New York
                    November 7,2022

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                                                    By:
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